   Case
     Case
        4:21-cr-00103-SMR-HCA
          4:22-cr-00005-SMR-HCADocument
                                 Document
                                        1328-3
                                          92 Filed
                                                Filed
                                                    12/06/22
                                                      12/30/22Page
                                                                Page
                                                                   1 of
                                                                     1 of
                                                                        3 3




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA

                                     )
UNITED STATES OF AMERICA,            ) Criminal No. 4:22-cr-005
                                     )
          v.                         )
                                     ) MOTION TO CONTINUE
TIMOTHY ROBERSON, JR.,               ) SENTENCING HEARING
                                     )
          Defendant.                 )
                                     )
    The government requests the Court continue Defendant’s sentencing hearing,

currently set for December 12, 2022, and in support thereof states:


      1. On June 14, 2022, Defendant pleaded guilty to Count Two of the five-count

         Indictment, charging possession with intent to distribute a controlled

         substance.

      2. On December 6, 2022, the undersigned became aware that defense counsel

         for defendant Carl Murphy (4:21-cr-103) wished to call Defendant as a

         witness at trial. That trial is set for January 9, 2023.

      3. The undersigned reached out to Defendant’s counsel thereafter. Defense

         counsel relayed no knowledge of his client’s information or involvement.

         Defense counsel has a meeting scheduled with Defendant on December 7,

         2022, to discuss.

      4. Defendant’s trial testimony could amount to perjury and obstruction of

         justice, which the government would either ask the Court to consider at

         sentencing or pursue in additional charges.
   Case
     Case
        4:21-cr-00103-SMR-HCA
          4:22-cr-00005-SMR-HCADocument
                                 Document
                                        1328-3
                                          92 Filed
                                                Filed
                                                    12/06/22
                                                      12/30/22Page
                                                                Page
                                                                   2 of
                                                                     2 of
                                                                        3 3




      5. Further, the United States Marshals Service would need to transport

         Defendant back to our district or delay his transportation to BOP because

         of the January 2023 trial if his sentencing were to proceed as scheduled.

      6. The government requests the Court continue Defendant’s sentencing until

         after the January 9, 2023 trial date to conserve judicial and government

         resources.

      7. There is no Sixth Amendment right to a speedy sentencing. See Fed. R.

         Crim. P. 32(b); Betterman v. Montana, 136 S. Ct. 1609, 1612–16 (2016).

      8. Defendant’s counsel takes no position as to a continuance of the sentencing

         date.


      WHEREFORE, the United States requests the Court continue Defendant’s

sentencing hearing currently scheduled for December 12, 2022 until after the trial

scheduled to begin January 9, 2023.


                                             Respectfully submitted,


                                             Richard D. Westphal
                                             United States Attorney

                                        By: /s/ Mallory E. Weiser
                                            Mallory E. Weiser
                                            Assistant United States Attorney
                                            U.S. Courthouse Annex, Suite 286
                                            110 E. Court Avenue
                                            Des Moines, Iowa 50309
                                            Tel: (515) 473-9300
                                            Fax: (515) 473-9292
                                             Email: mallory.weiser@usdoj.gov
   Case
     Case
        4:21-cr-00103-SMR-HCA
          4:22-cr-00005-SMR-HCADocument
                                 Document
                                        1328-3
                                          92 Filed
                                                Filed
                                                    12/06/22
                                                      12/30/22Page
                                                                Page
                                                                   3 of
                                                                     3 of
                                                                        3 3




CERTIFICATE OF SERVICE
I hereby certify that on December 6, 2022, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on the parties or attorneys of record by:

   U.S. Mail        Fax       Hand Delivery
  X ECF/Electronic filing    Other means
UNITED STATES ATTORNEY
By: /s/ Mallory E. Weiser, AUSA
